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                                   UNITED ST ATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                             25-cr-80047-Smith/Reinhart
                             CASE NO.
                                            8 U.S.C. § 1326(a) and (b)(l)

  UNITED STATES OF AMERICA
                                                                                                  SP
  vs.

  JOSE DAGO BERTO COREA-JOYA,                                                         Apr 3, 2025
       Defendant.
  ____________    /                                                                                  West Palm Beach


                                               INDICTMENT

  The Grand Jury charges that:

          On or about March 9, 2025, in Palm Beach County, in the Southern Di strict of Florida, the

  defendant,

                                   JOSE DAGOBERTO COREA-JOYA,

  an alien having been previously removed and deported from the United States on or about June 1, 2002 and

  March 30, 2007, was found to be in the United States, knowingly and unlawfully, without the Attorney

  General of the United States or his successor, the Secretary of Homeland Security (Title 6, United States

  Code, Sections 202(3) and 202(4), and 557) having expressly consented to such alien's reapplying for

  admission to the United States, in violation of Title 8, United States Code, Section 1326(a) and (b)(l).




                                                            FOREPERSON




  s~Jt,        0 1SMa- Dt2A-4-C./l
  SHANNON O' SHEA DARSCH
  ASSISTANT UNITED STATES ATTORNEY
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                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                                                          25-cr-80047-Smith/Reinhart
UNITED STATES OF AMERICA                                     CASE NO.:
                                                                         -----------------
v.
                                                             CERTIFICATE OF TRIAL ATTORNEY
JOSE DAGOBERTO COREA-JOYA,
- - - - - - - - - - - - - - - - -I                           Superseding Case Information:
                  Defendant.                                 New Defendant(s) (Yes or No) _ _
Court Division (select one)                                  Number of New Defendants - - -
   □ Miami        □ Key West               □ FTP             Total number of new counts
                                                                                          ---
   OFTL           IE]WPB

I do hereby certify that:
   I.   I have carefully considered the allegations of the Indictment, the number of defendants, the number of probable
        witnesses and the legal complexities of the Indictment/Information attached hereto.
  2.    I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
        their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, 28 U.S.C. §3161.

     3.     Interpreter: (Yes or No) Yes
            List language and/or dialect:_S._pa_n_i_sh_ _ _ __

     4.     This case will take 3 days for the parties to try.
     5.     Please check appropriate category and type of offense listed below:
            (Check only one)                       (Check only one)
            I 0 0 to 5 days                      □ Petty
            II D 6 to l O days                   □ Minor
            III D 11 to 20 days                  D Misdemeanor
            IV D 21 to 60 days                   □ Felony
            V D 61 days and over

     6.   Has this case been previously filed in this District Court? (Yes or No) No
                                                                                      --
          Ifyes, Judge _ _ _ _ _ _ _ _ _ _ _ Case No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     7.   Has a complaint been filed in this matter? (Yes or No) Yes
          If yes, Judge Ryon M. McCabe                   Magistrate Case No._25_-_81_3_5_-R_M_M_ _ _ _ _ _ _ _ __
     8.   Does this case relate to a previously filed matter in this District Court? (Yes or No )No--
          Ifyes, Judge _ _ _ _ _ _ _ _ _ _ _ Case No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     9.   Defendant(s) in federal custody as of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     10. Defendant(s) in state custody as of .....
                                               M=a=r~ch"'--'--9.._2cc,.0"'""2""5'----------------------
     l 1. Rule 20 from the _____ Districtof _ _ _ _ _ __
     12. Is this a potential death penalty case? (Yes or N o ) ~
     13. Does this case originate from a matter pending in the Central Region of the U.S. Attorney' s Office
          prior to October 3, 2019 (Mag. Judge Jared M. Strauss)? (Yes or No) -      No -
     14. Did this matter involve the participation of or consultation with Magistrate Judge Eduardo I. Sanchez
          during his tenure at the U.S. Attorney's Office, which concluded on January 22, 2023? _N_o_
     15. Did this matter involve the participation of or consultation with Magistrate Judge Marty Fulgueira
          Elfenbein during her tenure at the U.S. Attorney's Office, which concluded on March 5, 2024?!i2.__
     16. Did this matter involve the participation of or consultation with Magistrate Judge Ellen F. D ' Angelo
          during her tenure at the U.S. Attorney ' s Office, which concluded on October 7, 2024?N_o_


                                                             By: S~1t- 0 1SM,a, Da--uc/4
                                                                SHANNON O'SHEA DARSCH
                                                                Assistant United States Attorney
                                                                FL Bar No.            68566
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           PENALTY SHEET

   Defendant's Name: Jose Dagoberto Corea-Joya
               25-cr-80047-Smith/Reinhart
   Case No: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

   Count#: 1

   Illegal re-entry after deportation

   Title 8, United States Code, Section 1326(a) and (b)(l)
   *Max.Term oflmprisonment: 10 Years
   * Mandatory Min. Term oflmprisonment (if applicable): NIA
   *Max.Supervised Release: 3 Years
   * Max. Fine: $250,000
   * Special Assessment: $100 upon conviction




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
